Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 1 of 20 PageID 11620




                   EXHIBIT 2
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 2 of 20 PageID 11621
                                         Burton W. Wiand P.A.
                                                    114 Turner Street
                                                  Clearwater, FL 33756
                                                  Phone: 727-235-6769




       Burton W. Wiand PA                                                               May 16, 2022
       Attention: Burton W. Wiand, as Receiver                                          Client:      025305
       114 Turner Street                                                                Matter:      002067
       Clearwater, FL 33756                                                             Invoice #:    20306

                                                                                        Page:            1


       RE: SEC Receiver - SEC v. Brian Davison, et al.




       For Professional Services Rendered Through March 31, 2022




SERVICES

Date         TKPR      Description of Services                                       Hours          Amount
  ASDIS        Asset Disposition

1/3/2022     BWW       Work on tracing wire proceeds and sales accounting for          2.2          $792.00
                       Sotheby's auctions (.5); work on cancellation of Davis
                       Island transaction (.4); communicate with purchaser's
                       attorneys regarding same (.1); telephone conference with
                       K. Donlon regarding same (.3); telephone conferences with
                       T. Kelly regarding properties and Commerce Brewing (.6);
                       review and address issues with property auction website
                       (.3).
1/4/2022     BWW       Exchange correspondence with K. Donlon regarding                0.2           $72.00
                       auction results and wired funds from watch auction (.2).
1/5/2022     BWW       Prepare email to J. Rizzo regarding deposits for property       0.3          $108.00
                       auction (.1); communicate with K. Donlon, M. McKinley,
                       and J. Rizzo regarding motions to approve sales of
                       properties (.1); communicate with T. Kelly regarding
                       property sales (.1).
1/6/2022     BWW       Review and work on matters relating to property auction         1.8          $648.00
                       (.7); complete agreement related to Davis Island properties
                       (.5); multiple communications with T. Kelly and K. Donlon
                       regarding same (.5); correspond with J. Rizzo and T. Kelly
                       regarding Jasmine Way property (.1).
1/8/2022     BWW       Monitor property auction (1.5); multiple communications         2.0          $720.00
                       with S. Wiand and T. Kelly regarding same (.5).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 3 of 20 PageID 11622
                                                                                     May 16, 2022
                                                                                     Client:      025305
                                                                                     Matter:      002067
                                                                                     Invoice #:    20306

                                                                                     Page:            2


SERVICES

Date       TKPR    Description of Services                                        Hours          Amount
 ASDIS      Asset Disposition

1/11/2022 BWW      Monitor property auction (.7); multiple communications with      3.2        $1,152.00
                   T. Kelly regarding same (.3); telephone conference with K.
                   Donlon regarding same (.2); work on contract for Davis
                   Island properties (1.0); exchange emails with W. Conroy
                   and T. Kelly (.1); telephone conference with T. Kelly and K.
                   Donlon regarding status of contract for 3rd Ave. property
                   (.2); telephone conferences with S. Kelley regarding deal
                   relating to Davis Island properties (.5); communicate with
                   K. Donlon regarding same (.2).
1/12/2022 BWW      Monitor property auction (6.3).                                  6.3        $2,268.00
1/13/2022 BWW      Work on post-auction matters (3.0); review status of offer       4.2        $1,512.00
                   for Jasmine Way property with T. Kelly (.2); review list of
                   watch sales from L. Zagoory at Sotheby's (.2); prepare
                   email to L. Zagoory regarding same (.1); attend to issues
                   regarding Davis Island properties transaction (.2);
                   telephone conference with S. Kelley regarding same (.2);
                   exchange emails with K. Donlon regarding Sotheby's
                   auctions (.1); telephone conference with S. Wiand
                   regarding repair of safe (.2).
1/14/2022 BWW      Review and sign sale procedures agreements for auctioned         3.0        $1,080.00
                   properties (1.5); review multiple communications from J.
                   Rizzo regarding escrow deposits, sale procedures
                   agreements, and financing agreements for auctioned
                   properties (.4); continue work on documentation from
                   auction and auction issues (1.0); confer with K. Donlon
                   regarding notice for Davis Island properties (.1).
1/17/2022 BWW      Review and sign sale procedures agreement for Fairfield          2.4          $864.00
                   Ave. property (.2); confer with M. McKinley and E. Tate
                   regarding motions to approve property sales (.3); review
                   and sign sale procedures agreement for Tampa's Oldest
                   House (.2); work with T. Kelly regarding offers on Treasure
                   Island properties (.3); review and make comments on
                   purchase and sale agreement for 3rd Ave. property (1.0);
                   review and sign addendum for Jasmine Way property (.1);
                   telephone conference with T. Kelly regarding same (.2);
                   exchange emails with Receiver and T. Kelly regarding
                   potential property purchaser (.1).
1/18/2022 BWW      Telephone conferences with M. Noggle regarding closings          2.8        $1,008.00
                   on Tennessee properties (.6); exchange emails with K.
                   Donlon and J. Rizzo regarding same (.1); review motion
                   regarding Davis Island properties (.5); telephone
                   conference with M. McKinley regarding same (.3); work
                   with E. Tate on establishing online notary for property
                   transactions (.5); prepare emails to J. Rizzo with copies of
                   executed sale procedures agreements for auctioned
                   properties (.3); telephone conference with D. Brennan and
                   K. Donlon regarding sales tax issues (.5).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 4 of 20 PageID 11623
                                                                                       May 16, 2022
                                                                                       Client:      025305
                                                                                       Matter:      002067
                                                                                       Invoice #:    20306

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SERVICES

Date       TKPR    Description of Services                                          Hours          Amount
 ASDIS      Asset Disposition

1/19/2022 BWW      Work on agreement for 3rd Ave. property (1.2); telephone           3.5        $1,260.00
                   conference with K. Johnson regarding same (.3); telephone
                   conferences with broker J. Leal regarding property auction
                   transactions (.3); work on completion of property
                   transactions and review of motions to approve same (1.0);
                   work on transactions for Davis Island properties (.5); review
                   notice of sale (.2).
1/24/2022 BWW      Review revised draft of purchase and sale agreement for            3.7        $1,332.00
                   3rd Ave. property (.4); telephone conference with K.
                   Johnson regarding approval of same (.3); work on motion
                   to approve sale of Land Rover Defender (.6); telephone
                   conference with purchaser of Land Rover Defender
                   regarding terms of purchase agreement and timing (.5);
                   review inquiry from K. Morrill regarding purchase of
                   Colonial Dr. property (.3); review T. DeCarlo's offer to
                   purchase property (.2); review and execute sale
                   procedures agreement for 7117 E. Bank Dr. unit 102 and
                   send same to J. Rizzo (.1); communicate with J. Rizzo and
                   K. Donlon regarding Sotheby's wire of funds from sale of
                   jewelry (.1); work on acquiring paper title for Land Rover
                   Defender (1.2).
1/25/2022 BWW      Work with T. Kelly on auction plans and plans for other            1.7          $612.00
                   property sales (1.5); communicate with J. Rizzo regarding
                   status of sale of Phillips St. property (.1); communicate with
                   J. Rizzo regarding misdirected deposit for 7143 E. Bank Dr.
                   unit 7143 (.1).
1/26/2022 BWW      Work on issues relating to legal description of Davis Island       1.0          $360.00
                   properties and revision of motion to approve sale of same
                   (.6); review proposed motion to approve sale of same (.3);
                   receive and execute addendum for same (.1).
1/27/2022 BWW      Telephone conference with T. Kelly regarding potential             0.7          $252.00
                   purchasers of Colonial Dr. property (.2); review and sign
                   documents for transfer of Sothebys funds (.2); review
                   issues regarding taxes on Tampa's Oldest House (.3).
1/28/2022 BWW      Review Court's order approving sale of Land Rover                  1.2          $432.00
                   Defender (.1); telephone conference with S. Wiand
                   regarding same (.3); telephone conference with F.
                   Quesada regarding same (.3); prepare invoice for same
                   (.3); attend to transfer of funds related to purchase of Bank
                   St. property (.2).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 5 of 20 PageID 11624
                                                                                        May 16, 2022
                                                                                        Client:      025305
                                                                                        Matter:      002067
                                                                                        Invoice #:    20306

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SERVICES

Date       TKPR    Description of Services                                           Hours          Amount
  ASDIS     Asset Disposition

1/31/2022 BWW      Review emails from P. Taylor regarding procedures for               2.5          $900.00
                   funds transfers relating to closing on Gulf Blvd. property
                   (.5); review and sign purchase and sale agreement for
                   Treasure Island properties (.4); communicate with R.
                   McKinley, T. Kelly, and J. Rizzo regarding same (.1); work
                   with E. Tate on execution of documents for property sale
                   (.5); work on sales transaction for Tampa's Oldest House
                   (.7); review and sign contract for sale (.2); request offer
                   from attorney D. Murray (.1).
2/1/2022   BWW     Attend to closing matters regarding 12321 Gulf Blvd.                0.6          $216.00
                   property (.2); communicate with S. Wiand regarding sale of
                   B. Davison's Defender (.2); attend to issues relating to the
                   Phillips St. property renovations and sale (.2).
2/2/2022   BWW     Prepare for and participate in conference call with T. Kelly        2.3          $828.00
                   and K. Johnson regarding purchase and sale agreement
                   for 3rd Ave. property (.7); telephone call with R. Finley (.4);
                   make notes regarding same (.1); review status of sale of
                   116th Ave. properties (.2); telephone conferences with T.
                   Kelly regarding same (.3); prepare email to K. Donlon
                   regarding same (.2); review order denying amended motion
                   to approve sale of Davis Island properties (.3); prepare
                   email to K. Donlon and M. McKinley regarding response to
                   order (.1).
2/7/2022   BWW     Work on finalizing purchase and sale agreement for 3rd              2.2          $792.00
                   Ave. property (.5); work on closing for 12321 Gulf Blvd.
                   property (.4); review and execute closing statement (.1);
                   telephone conference with P. Taylor and T. Kelly regarding
                   same (.2); work on completion of sale of Land Rover
                   Defender (.3); review and execute title for same (.1);
                   prepare invoice for same (.2); prepare email to F. Quesada
                   with invoice (.1); meet with S. Wiand regarding sale (.3).
2/8/2022   BWW     Work on sale of U.S. Hwy. 19 Unit 114 (.5); continue to             1.7          $612.00
                   work on sale of 3rd Ave. property (.5); work on
                   arrangements with M. Noggle for Tennessee real estate
                   representation and real estate sale transactions (.5); review
                   and sign purchase and sale agreement for U.S. Hwy. 19
                   Unit 114 (.2).
2/9/2022   BWW     Work on tracking funds from sale of watches by Sotheby's            0.7          $252.00
                   (.5); communicate with proposective purchaser for Solano
                   Dr. property (.2).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 6 of 20 PageID 11625
                                                                                        May 16, 2022
                                                                                        Client:      025305
                                                                                        Matter:      002067
                                                                                        Invoice #:    20306

                                                                                        Page:            5


SERVICES

Date       TKPR    Description of Services                                           Hours          Amount
 ASDIS      Asset Disposition

2/10/2022 BWW      Work on and review matters related to sale of Davis Island          4.3        $1,548.00
                   properties (2.1); participate in Zoom call with M. McKinley
                   and K. Donlon regarding same (.3); work on corrective
                   deed for 10530 77th Terrace unit 222 (.3); continue work
                   on sale of 3rd Ave. property (.4); review emails from K.
                   Johnson regarding same (.2); review and revise motion for
                   sale of Davis Island properties (.5); attend to matters
                   regarding sale of 116th St. properties (.3); arrange for
                   execution of deed for 10530 77th Terrace unit 222 (.2).
2/11/2022 BWW      Meet with E. Tate and execute deed for 10530 77th Terr.             0.3          $108.00
                   Unit 222 (.3).
2/14/2022 BWW      Exchange emails with K. Donlon and S. Wiand regarding               0.6          $216.00
                   sending letters to defaulting auction purchasers (.1); attend
                   to closing on 5930 Fairfield Ave. property (.3); telephone
                   conference with K. Johnson regarding status of purchase
                   and sale agreement for 3rd Ave. property (.2).
2/15/2022 BWW      Review and sign purchase and sale agreement for 3rd Ave.            3.3        $1,188.00
                   property (.3); communicate with K. Johnson, S.
                   MacDonald, W. Conroy, and T. Kelly regarding same (.2);
                   review and execute closing documents for 5930 Fairfield
                   Ave. and 1193 88th Ave. properties (.5); prepare emails to
                   E. Tate regarding letter concerning wire transfer to Johnson
                   Pope for legal fees relating to sale of 3rd Ave. property (.3);
                   work on accounting regarding Sotheby's watch sales and
                   payments (.8); telephone conferences with K. Donlon
                   regarding same (.2); exchange emails with K. Donlon
                   regarding same and motion to approve sale of St.
                   Petersburg property (.2); attend to wiring funds to Johnson
                   Pope for 3rd Ave. property transaction (.3); attend to issues
                   relating to sale of 29250 U.S. Hwy. 19 Unit 114. (.5).
2/16/2022 BWW      Confer with K. Donlon regarding revised motion to approve           3.6        $1,296.00
                   sale of 3rd Ave. property (.2); review and edit motion (.7);
                   communicate with K. Donlon and T. Kelly regarding same
                   (.3); attend to sales agreement for 3rd Ave. property (.1);
                   review correspondence from R. Finley regarding 116th Ave.
                   properties (.2); prepare correspondence to R. Finley
                   regarding same (.4); telephone conference with T. Kelly
                   regarding same (.2); work on motion to approve sale of
                   Davis Island properties (.3); telephone conference with M.
                   McKinley regarding same (.2); review emails from P. Bryant
                   regarding same (.2); review payment issues relating to
                   Sotheby's sale of watches (.5); attend to issues regarding
                   closings on 5930 Fairfield Ave. and 88th Ave. properties
                   (.3).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 7 of 20 PageID 11626
                                                                                       May 16, 2022
                                                                                       Client:      025305
                                                                                       Matter:      002067
                                                                                       Invoice #:    20306

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SERVICES

Date       TKPR    Description of Services                                          Hours          Amount
  ASDIS     Asset Disposition

2/17/2022 BWW      Revise and approve final version of motion to approve sale         3.1        $1,116.00
                   of Davis Island properties (1.2); review and revise motion to
                   approve sale of 3rd Ave. property (1.0); telephone
                   conference with R. Zirinsky of Red Apple Developers
                   regarding potential purchase of 3rd Ave. property (.3);
                   telephone conference with T. Kelly regarding property sales
                   (.6).
2/18/2022 BWW      Review and revise new draft of motion to approve sale of           0.9          $324.00
                   Davis Island properties (.9).
2/20/2022 BWW      Continue to revise motion to approve sale of Davis Island          0.8          $288.00
                   properties (.8).
2/21/2022 BWW      Review and execute addendum to contract for sale of                0.9          $324.00
                   Phillips St. property (.3); review draft backup purchase and
                   sale agreement for 116th Ave. properties (.3); exchange
                   emails with T. Kelly regarding same (.3).
2/23/2022 BWW      Exchange emails with K. Donlon regarding sale of Capri             2.2          $792.00
                   Haven property (.1); review closing documents for Tennis
                   Court Cir. and 7117 E. Bank Dr. properties and schedule
                   execution of same (.3); work with J. Rizzo and K. Donlon
                   on sale of B. Davison’s coins (.3); work with T. Kelly on
                   efforts to sell 3rd Ave. property (.5); work on accounting for
                   payments from Sotheby's for watch sales (1.0).
2/24/2022 BWW      Prepare email to defaulting purchaser of 116th Ave.                2.4          $864.00
                   properties (1.2); work on sale of same (.4); continue work
                   on accounting for payments from Sotheby's for watch sales
                   (.5); telephone calls with HUT Contractors about purchase
                   opportunities (.3).
2/25/2022 BWW      Work on negotiations for sale of 128 Davis Blvd. property          1.0          $360.00
                   (.7); attention to backup offer on 116th Ave. properties (.3).
3/1/2022   BWW     Work with R. Finley regarding sale of Treasure Island              1.2          $432.00
                   property (.5); telephone conference with T. Kelly regarding
                   information request and amendment to purchase and sale
                   agreement for same (.5); prepare email to P. Taylor
                   regarding 25th St. properties (.1); review and execute
                   addendum for closing extension for same (.1).
3/2/2022   BWW     Execute closing documents for 25th St. properties (.5);            0.9          $324.00
                   review and revise closing documents for Phillips St.
                   property (.4).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 8 of 20 PageID 11627
                                                                                        May 16, 2022
                                                                                        Client:      025305
                                                                                        Matter:      002067
                                                                                        Invoice #:    20306

                                                                                        Page:            7


SERVICES

Date       TKPR    Description of Services                                           Hours          Amount
  ASDIS     Asset Disposition

3/3/2022   BWW     Review email from R. Finley regarding Treasure Island               0.9          $324.00
                   property (.1); telephone conference with T. Kelly regarding
                   same (.1); prepare email to R. Finley regarding same (.1);
                   communicate with M. Kahn regarding sales of domains
                   held by EquiAlt and B. Davison (.3); review order from
                   Judge Scriven approving sale of 3rd Ave. property (.1);
                   telephone conference with T. Kelly regarding same (.1);
                   exchange emails with K. Donlon and W. Conroy regarding
                   same (.1).
3/4/2022   BWW     Review and sign closing documents for 51st Ave. property            1.0          $360.00
                   (.5); review and execute rider to residential contract relating
                   to Strain Blvd. property (.2); communicate with W. Conroy
                   regarding dissatisfaction with delay in closing on 3rd Ave.
                   property (.1); review and execute closing documents for
                   25th St. properties (.2).
3/7/2022   BWW     Telephone conference with T. Kelly regarding property               2.6          $936.00
                   sales (1.0); telephone calls with potential purchaser of 38th
                   Ave. property (.3); telephone conference with T. Kelly
                   regarding same (.2); exchange emails with L. Zagoory
                   regarding sale of Rolex watches and receiving same from
                   B. Rybicki (.2); telephone conference with potential
                   property purchaser D. Ingle (.1); communicate with T. Kelly
                   regarding same (.1); telephone conference with T. Kelly
                   regarding offers on Davis Blvd. property (.2); work on
                   motion to approve sale of Broadway Ave. property (.5).
3/8/2022   BWW     Communicate with K. Donlon regarding outstanding issues             1.3          $468.00
                   (.6); review and sign closing documents for Sandra Dr. and
                   Strain Blvd. properties (.5); review and execute purchase
                   and sale agreement for Davis Blvd. property (.2).
3/14/2022 BWW      Review broker price opinion matters related to Jasmine              0.4          $144.00
                   Way property (.2); communicate with P. Taylor regarding
                   116th Ave. properties (.2).
3/17/2022 BWW      Confer with T. Kelly regarding Silver Sands property (.2).          0.2           $72.00
3/18/2022 BWW      Attend to issues related to closing on 3rd Ave. property (.5);      1.1          $396.00
                   work on resolving tax and corporate issues related to sale
                   of Tennessee properties (.6).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 9 of 20 PageID 11628
                                                                                        May 16, 2022
                                                                                        Client:      025305
                                                                                        Matter:      002067
                                                                                        Invoice #:    20306

                                                                                        Page:            8


SERVICES

Date       TKPR    Description of Services                                           Hours          Amount
 ASDIS      Asset Disposition

3/21/2022 BWW      Work on sale of 128 E. Davis Blvd. property (.7); attention         3.4        $1,224.00
                   to cancellation of prior purchase and sale agreement and
                   review and execution of new agreement for same (.3);
                   review and revise motion to approve sale of Broadway Ave.
                   property (.8); telephone conference with T. Kelly regarding
                   operational and property sales issues (.5); work with F.
                   Hammer regarding listing for 3rd Ave. property (.5); work
                   on corporate documentation matters in connection with
                   property sales (.2); telephone conference with T. Kelly
                   regarding same (.2); exchange emails with S. Scott
                   regarding same (.2).
3/22/2022 BWW      Work with T. Kelly on potential sale of Silver Sands                2.6          $936.00
                   property (.8); telephone call with T. Kelly regarding property
                   sales (.3); review offers for 3rd Ave. property (.4); review
                   status of sale of Tennessee property (.1); review status of
                   sale of Jasmine Way property (.1); review status of sale of
                   Broadway Ave. property (.1); telephone conference with L.
                   Zagoory regarding auction matters and proposed sales
                   including DeWitt watch and sports memorabilia assets (.4);
                   telephone conference with S. Wiand regarding progress of
                   safe repair (.2); review communications from J. Rizzo
                   regarding listing agents for B. Rybicki's properties (.2).
3/23/2022 BWW      Telephone conference with T. Kelly regarding new letter of          2.4          $864.00
                   intent for 3rd Ave. property (.5); review same (1.0);
                   communicate with K. Donlon regarding watches and 3rd.
                   Ave. property (.2); work with Sotheby's on private watch
                   sale (.3); prepare letter for potential purchasers of St.
                   Petersburg property (.3); telephone conference with K.
                   Donlon regarding same (.1).
3/24/2022 BWW      Telephone conferences with T. Kelly regarding operations            3.3        $1,188.00
                   issues and property sales (1.0); telephone conference with
                   J. Wittner regarding 3rd Ave. property (.2); work on closing
                   on 86th Terrace property (1.0); review closing documents
                   for 18th St. property (.3); review and sign settlement
                   statement for 14th St. property and forward to T. Kelly and
                   J. Rizzo (.2); review and evaluate emails related to listing B.
                   Rybicki's properties (.4); exchange emails with J. Rizzo
                   regarding same (.2).
3/25/2022 BWW      Work on purchase and sale agreement for 12315 Gulf                  3.4        $1,224.00
                   Blvd. property (.3); telephone conferences with T. Kelly
                   regarding same (.3); prepare email to C. Alves regarding
                   same (.1); attend inspection of 3rd Ave. property (1.5);
                   meet with T. Kelly regarding same (.8); confer with C. Alves
                   regarding revision of purchase and sale agreement for
                   12315 Gulf Blvd. property (.3); send revised agreement to
                   C. Alves (.1).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 10 of 20 PageID 11629
                                                                                        May 16, 2022
                                                                                        Client:      025305
                                                                                        Matter:      002067
                                                                                        Invoice #:    20306

                                                                                        Page:            9


SERVICES

Date       TKPR    Description of Services                                          Hours           Amount
  ASDIS     Asset Disposition

3/29/2022 BWW      Review and sign closing statements for three properties             0.5          $180.00
                   (.5).
3/30/2022 BWW      Work on sales of 118 S. Westland Ave., Broadway Ave.,               1.0          $360.00
                   and Jasmine Way properties (1.0).
3/31/2022 BWW      Review with T. Kelly information regarding proposals for            0.7          $252.00
                   sale of 3rd Ave. property (.2); exchange emails with T. Kelly
                   regarding same (.2); exchange emails with J. Rizzo
                   regarding listing agent for B. Rybicki's properties (.2);
                   confer with K. Donlon regarding Davis Island properties
                   (.1).

                                        Total: Asset Disposition                    100.50       $36,180.00
  ASSET     Asset Analysis and Recovery

1/3/2022   BWW     Review B. Davison's objection to motion to lift stay for            1.3          $468.00
                   investor suit (.3); prepare comments to same and forward
                   to K. Donlon (.2); telephone conference with A. Friedman
                   regarding issues related to B. Davison and Arizona
                   cooperation (.3); prepare for and participate in telephone
                   conference with K. Donlon regarding issues related to B.
                   Davison and investors, lawyers for Davis Island property
                   transaction, internet assignments, and scheduling
                   mediation (.5).
1/8/2022   BWW     Review declaration for reply to motion for leave to file            0.5          $180.00
                   investor actions (.5).
1/18/2022 BWW      Prepare for and participate in Zoom call regarding                  2.3          $828.00
                   settlement documents for DLA/Fox lawsuit (1.8); confer
                   with K. Donlon regarding status (.5).
1/20/2022 BWW      Confer with K. Donlon regarding B. Davison's settlement             0.2           $72.00
                   agreement (.2).
1/27/2022 BWW      Review documentation regarding SEC's settlement relating            0.3          $108.00
                   to bar issue (.2); forward same to G. Burns, S. Ilgenfritz,
                   and K. Donlon (.1).
1/28/2022 BWW      Review and comment on settlement documents relating to              1.0          $360.00
                   B. Davison (1.0).
1/29/2022 BWW      Telephone conference with A. Friedman regarding                     1.0          $360.00
                   negotiations with B. Davison (.2); exchange emails with K.
                   Donlon and B. Davison's counsel (.1); attend meeting with
                   B. Davison's counsel (.5); participate in conference call with
                   A. Friedman and S. Ilgenfritz regarding B. Davison (.2).
1/31/2022 BWW      Review settlement documents regarding B. Davison (.5);              1.1          $396.00
                   confer with K. Donlon regarding same (.1); review
                   settlement documents regarding DLA/Fox litigation (.5).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 11 of 20 PageID 11630
                                                                                    May 16, 2022
                                                                                    Client:      025305
                                                                                    Matter:      002067
                                                                                    Invoice #:    20306

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SERVICES

Date       TKPR    Description of Services                                       Hours          Amount
  ASSET     Asset Analysis and Recovery

2/1/2022   BWW     Communicate with A. Friedman regarding B. Davison               1.5          $540.00
                   settlement (.1); review settlement documents in DLA/Fox
                   case (.1); exchange emails with S. Ilgenfritz, K. Donlon,
                   and G. Burns regarding same (.1); attend Zoom conference
                   with G. Burns, K. Donlon, and S. Ilgenfritz regarding same
                   (1.2).
2/2/2022   BWW     Conference call with class action attorneys in DLA/Fox          0.9          $324.00
                   case (.4); review settlement documents for same (.3);
                   telephone conference with S. Ilgenfritz, G. Burns and K.
                   Donlon regarding same (.2).
2/9/2022   BWW     Exchange emails with K. Phelps regarding settlement of          0.2           $72.00
                   DLA/Fox lawsuit (.2).
2/10/2022 BWW      Review joint motion for stay in California in DLA/Fox case      0.3          $108.00
                   (.3).
2/14/2022 BWW      Telephone conference with S. Ilgenfritz regarding list of       0.2           $72.00
                   individuals who submitted claims for payment as it related
                   to notice for law firm settlement (.2).
2/17/2022 BWW      Telephone conference with K. Donlon regarding B.                1.2          $432.00
                   Davison’s request to lift asset freeze (.5); review release
                   signed by B. Davison in Wassgren action (.2); exchange
                   emails with K. Donlon and A. Friedman regarding same
                   (.3); confer with K. Donlon regarding non-investor claim
                   submissions as it relates to notice of law firm settlement
                   (.2).
2/24/2022 BWW      Confer with K. Donlon regarding draft judgment for B.           0.2           $72.00
                   Rybicki (.2).
2/25/2022 BWW      Work on arrangements for turnover of B. Rybicki’s property      1.5          $540.00
                   pursuant to assignment (.5); participate in conference call
                   with A. Friedman relating to settlement in DLA/Fox case
                   (1.0).
2/28/2022 BWW      Confer with K. Donlon regarding B. Rybicki's assignment         0.5          $180.00
                   (.3); review and execute settlement agreement in DLA/Fox
                   case (.2).
3/1/2022   BWW     Review and comment on new draft of assignment for B.            1.2          $432.00
                   Rybicki’s assets (.5); review and comment on proposed
                   judgment for B. Rybicki (.4); send same to K. Donlon (.1);
                   work with K. Donlon and J. Rizzo regarding arrangements
                   for turnover of B. Rybicki’s property (.2).
3/2/2022   BWW     Review and revise agreement with R. Rybicki (.4);               1.6          $576.00
                   communicate with K. Donlon regarding same (.2); work
                   with J. Rizzo and K. Donlon regarding B. Rybicki’s turnover
                   of property (1.0).
3/4/2022   BWW     Confer with K. Donlon regarding B. Rybicki's turnover of        0.3          $108.00
                   assets (.3).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 12 of 20 PageID 11631
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SERVICES

Date       TKPR    Description of Services                                         Hours          Amount
  ASSET     Asset Analysis and Recovery

3/7/2022   BWW     Work on B. Rybicki’s closing and property delivery (.1);          0.8          $288.00
                   telephone conference with M. Dottore and H. Berkson
                   regarding potential claim against investment advisory firm
                   Wealth Watch (.2); prepare emails to K. Donlon regarding
                   same (.1); review email from M. Schaub regarding B.
                   Rybicki (.1); telephone conference with K. Donlon regarding
                   same (.1); communicate with A. Johnson regarding
                   EquiAlt’s applications for SBA loans (.2).
3/9/2022   BWW     Communicate with J. Rizzo and K. Donlon regarding R.              0.2           $72.00
                   Rybicki’s agreement and tax issues (.2).
3/14/2022 BWW      Work on arranging means of transporting B. Rybicki's              0.5          $180.00
                   vehicles from Phoenix to Tampa (.5).
3/15/2022 BWW      Work on arranging transport of B. Rybicki's vehicles to           1.0          $360.00
                   Florida (1.0).
3/17/2022 BWW      Communicate with H. Berkson regarding vicitim documents           0.4          $144.00
                   for arbitration matter (.2); confer with K. Donlon regarding
                   SEC's opposition to B. Rybicki's request for fees (.2).
3/18/2022 BWW      Review B. Rybicki's attorney's fee application and SEC's          0.5          $180.00
                   response to same (.1); confer with K. Donlon regarding
                   same (.4).
3/20/2022 BWW      Review drafts of opposition to B. Rybicki's fee application       0.8          $288.00
                   (.5); confer with K. Donlon regarding same (.3).
3/22/2022 BWW      Work on turnover of B. Rybicki's assets and related issues        0.5          $180.00
                   and documents (.5); review emails regarding B. Rybicki's
                   most recent revisions to settlement documents (.2).
3/24/2022 BWW      Work on turnover issues related to B. Rybicki's assignment        0.8          $288.00
                   (.5); dictate memorandum (.3).
3/25/2022 BWW      Attend to settlement agreements in DLA/Fox case (1.0);            1.2          $432.00
                   confer with S. Ilgenfritz regarding submission of releases to
                   defense attorneys (.2).
3/29/2022 BWW      Prepare for and participate in conference call with Arizona       1.7          $612.00
                   team regarding delivery of real property by B. Rybicki (1.0);
                   participate in conference call with K. Donlon, J. Rizzo, R.
                   Jernigan, A. Baskin, M Milovic, and C. McDonald regarding
                   B. Rybicki's turnover of assets (.7).
3/30/2022 BWW      Attend to matters related to B. Rybicki's property transfer       1.0          $360.00
                   (.8); review documents related to Land Rover Defender and
                   Porsche (.2).

                                       Total: Asset Analysis and Recovery          26.70        $9,612.00
  BUSIN     Business Operations

1/14/2022 BWW      Review express charges for credit cards bills (.3).               0.3          $108.00
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SERVICES

Date       TKPR    Description of Services                                       Hours          Amount
  BUSIN     Business Operations

1/16/2022 BWW      Exchange emails with tenant C. Butts regarding complaint        0.3          $108.00
                   (.3).
1/17/2022 BWW      Review credit card statements (.2).                             0.2           $72.00
1/18/2022 BWW      Communicate with T. Kelly regarding operations (.3);            0.8          $288.00
                   review AppFolio and approve payables (.5).
1/19/2022 BWW      Prepare agenda for operations meeting (1.0); confer with K.     4.1        $1,476.00
                   Donlon regarding same (.2); attend operations meeting via
                   Zoom (2.2); review report and emails from T. Kruger and D.
                   Ochstein regarding Commerce Brewing's operations (.5);
                   review Commerce Brewing's accounting information from
                   E. Takemori (.2).
1/24/2022 BWW      Meet with T. Kelly regarding operational issues and             2.9        $1,044.00
                   business structuring plans (1.6); telephone conference with
                   W. Price (.4); review AppFolio and approve payables (.8);
                   communicate with T. Kelly and J. Rizzo regarding filing
                   notice for annual report for 2112 W. Kennedy Blvd. LLC
                   (.1).
1/25/2022 BWW      Meet with B. Price and T. Kelly regarding transfer of           2.1          $756.00
                   management functions (2.0); communicate with J. Rizzo
                   regarding approval of wire transfer (.1).
1/28/2022 BWW      Attend to W-9 for S. Scott (.2); review and authorize           0.4          $144.00
                   funding of EquiAlt payroll account (.2).
1/29/2022 BWW      Attend Zoom meeting regarding operation of Commerce             1.7          $612.00
                   Brewing (1.2); attend to issues relating to maintenance of
                   corporate entities (.5).
1/31/2022 BWW      Communicate with J. Rizzo and E. Tate regarding annual          0.1           $36.00
                   report for FL DAV, LLC (.1).
2/1/2022   BWW     Communicate with T. Kelly and D. Stoddard regarding             0.3          $108.00
                   personnel matter (.2); communicate with J. Rizzo regarding
                   approval of funds transfer for payroll (.1).
2/2/2022   BWW     Telephone conference with D. Stoddard regarding                 0.6          $216.00
                   termination and duties through end of employment (.2);
                   exchange emails with D. Stoddard regarding same and
                   related issues (.3); communicate with J. Rizzo regarding
                   approval of transfer of funds to Najmy Thompson (.1).
2/3/2022   BWW     Visit and inspect Commerce Brewery (1.2); review                1.7          $612.00
                   financials for same and prepare for meeting regarding
                   same (.5).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 14 of 20 PageID 11633
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SERVICES

Date       TKPR    Description of Services                                         Hours          Amount
  BUSIN     Business Operations

2/7/2022   BWW     Participate in Zoom call regarding accounting (.5); work on       1.6          $576.00
                   credit card arrangements for EquiAlt expenses (.2);
                   telephone conference with D. Stoddard regarding same
                   (.2); exchange emails with J. Rizzo regarding same (.2);
                   telephone conference with M. Mueller regarding
                   representation of D. Stoddard (.2); telephone conference
                   with D. Stoddard regarding same (.2); prepare email to K.
                   Donlon regarding same (.1).
2/8/2022   BWW     Communicate with T. Kelly relating to drone disposal at           0.2           $72.00
                   Bolero Snort Brewery (.2).
2/10/2022 BWW      Work with T. Kelly on property repair matters and issues          1.5          $540.00
                   related to R. Finley (1.0); attend to citation on 4803 35th
                   Cir. property (.1); telephone conference with T. Kelly
                   regarding same (.1); exchange emails with T. Kelly
                   regarding same (.1); attend to lien matter from Hillsborough
                   County relating to 4803 35th Cir. property (.1); prepare
                   emails to J. Rizzo and T. Kelly regarding same (.1).
2/11/2022 BWW      Attention to arrangements relating to new credit cards for        0.3          $108.00
                   company operations (.3).
2/14/2022 BWW      Review emails from T. Kelly and P. Taylor regarding               1.5          $540.00
                   closing permit on 88th Ave. property (.2); review and
                   approve turnover repairs for eight properties (.3); telephone
                   conference with T. Kelly regarding operations matters (.2);
                   review and approve payables through AppFolio (.2);
                   telephone conference with G. Heinhold regarding
                   communications with B. Ferguson (.2); telephone call with
                   D. Stoddard regarding schedules for Commerce Brewing
                   capital expenditure reimbursements (.3); communicate with
                   M. Lockwood regarding approval of third-party invoices (.1).
2/15/2022 BWW      Telephone call with T. Kelly regarding 3rd Ave. property          1.4          $504.00
                   and operational matters (.3); review and approve
                   rehabilitation projects for Overlook Dr., Villa Rosa St., and
                   Parkside Dr. properties (.3); prepare agenda for operations
                   meeting (.5); attend to AppFolio payables (.3).
2/16/2022 BWW      Prepare for and participate in operations meeting (2.3);          3.1        $1,116.00
                   work with T. Kelly on property sales and maintenance
                   projects (.5); review financial information from E. Takamori
                   relating to Commerce Brewery (.3).
2/17/2022 BWW      Work with G. Heinhold of PDR regarding accounting                 0.3          $108.00
                   changes (.3).
2/21/2022 BWW      Attend to update of EA SIP Nevada registrations (.4).             0.4          $144.00
2/22/2022 BWW      Communicate with J. Rizzo regarding approval of fund              0.1           $36.00
                   transfers in connection with property sales (.1).
2/24/2022 BWW      Communicate with J. Rizzo regarding approval of funds             0.1           $36.00
                   transfers (.1).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 15 of 20 PageID 11634
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SERVICES

Date       TKPR    Description of Services                                       Hours          Amount
  BUSIN     Business Operations

2/26/2022 BWW      Communicate with R. Rohr regarding transactions for             1.7          $612.00
                   websites (.3); attend to personnel matters relating to D.
                   Stoddard's termination and severance (.5); communicate
                   with G. Heinhold with PDR regarding weekly cash flow
                   reports (.3); attention to credit card balances and
                   authorization of payments (.2); review matters regarding
                   corporate filings and documentation (.2); communicate with
                   J. Rizzo regarding same (.2).
2/28/2022 BWW      Communicate with J. Rizzo regarding depositing refund           0.3          $108.00
                   check from GEICO (.1); communicate with J. Rizzo
                   regarding approval of funds transfer for credit card
                   paydown (.1); communicate with J. Rizzo regarding stop
                   payment request for check to vendor (.1).
3/1/2022   BWW     Telephone conference with D. Lee of the Better Business         0.2           $72.00
                   Bureau (.2).
3/2/2022   BWW     Review Commerce Brewing’s financials (.3); review weekly        1.0          $360.00
                   cash report (.2); review and approve payables through
                   AppFolio and fund transfer (.5).
3/3/2022   BWW     Telephone conference with T. Kelly regarding operations,        1.1          $396.00
                   property sales, and personnel matters (1.0); authorize
                   paydown of credit card (.1).
3/4/2022   BWW     Review email from E. Tate regarding corporate filings (.1);     0.3          $108.00
                   prepare email to J. Rizzo and E. Tate regarding same (.2).
3/7/2022   BWW     Work with T. Kelly regarding spreadsheet of corporations’       0.3          $108.00
                   registration statuses (.3).
3/8/2022   BWW     Review weekly cash flow report (.2); review email regarding     0.5          $180.00
                   registration of EA SIP TN Holdings LLC in Tennessee and
                   problems with Department of Revenue (.1); telephone
                   conference with T. Kelly regarding same (.1); email to W.
                   Price regarding same (.1).
3/11/2022 BWW      Communicate with G. Heinhold and J. Rizzo regarding             0.2           $72.00
                   payroll procedures (.2).
3/16/2022 BWW      Attend operations meeting (2.0).                                2.0          $720.00
3/23/2022 BWW      Review and approve payables in AppFolio (.5); telephone         0.7          $252.00
                   conference with T. Kelly regarding same (.1); exchange
                   emails regarding scheduling operations meeting (.1).
3/27/2022 BWW      Prepare agenda for operations meeting (1.0).                    1.0          $360.00
3/28/2022 BWW      Prepare for and participate in operations meeting via Zoom      3.0        $1,080.00
                   (3.0).
3/29/2022 BWW      Work on accounting matters, fund transers, and closing          0.3          $108.00
                   accounts (.3).
   Case 8:20-cv-00325-MSS-MRM Document 572-2 Filed 05/16/22 Page 16 of 20 PageID 11635
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SERVICES

Date       TKPR    Description of Services                                         Hours          Amount
  BUSIN     Business Operations

3/30/2022 BWW      Receive and review financials for Commerce Brewery (.2);          0.7          $252.00
                   telephone call with T. Kelly regarding operations (.5).
3/31/2022 BWW      Communicate with K. Donlon regarding attorney's fees for          0.2           $72.00
                   T. Kelly (.2).

                                       Total: Business Operations                  39.50       $14,220.00
  CASE      Case Administration

1/18/2022 BWW      Meet with E. Tate regarding case management matters               0.5          $180.00
                   (.5).
1/26/2022 BWW      Review and revise 8th quarterly status report (.9); forward       1.0          $360.00
                   same to K. Donlon (.1).
1/31/2022 BWW      Review disclosure of 3rd Ave. property transaction in status      0.7          $252.00
                   report and confer with counsel regarding same (.5); confer
                   with K. Donlon regarding filing of status report (.2).

                                       Total: Case Administration                   2.20          $792.00
  CLAIM     Claims Administration and Objections

1/7/2022   BWW     Exchange emails with M. Lockwood regarding status of              0.1           $36.00
                   claims review process (.1).
1/24/2022 BWW      Exchange emails with M. Lockwood regarding status of              0.1           $36.00
                   claims review process (.1).
1/25/2022 BWW      Receive and review spreadsheet of claims received (1.0).          1.0          $360.00
1/27/2022 BWW      Review information regarding inquiry of investor B.S. (.2).       0.2           $72.00
2/21/2022 BWW      Attend to claims review matters (.9); communicate with M.         1.0          $360.00
                   Lockwood regarding same (.1).
2/22/2022 BWW      Review outstanding claims (.9); exchange emails with M.           1.0          $360.00
                   Lockwood regarding same (.1).
3/3/2022   BWW     Review information and charts from M. Lockwood                    1.0          $360.00
                   regarding outstanding issues in claims process (.8);
                   prepare emails to K. Donlon, M. Lockwood and M. Gura
                   regarding same (.2).
3/8/2022   BWW     Review detailed email from M. Lockwood regarding claims           1.5          $540.00
                   process and progress of same (.3); prepare for and
                   participate in Zoom call with claims team regarding claims
                   process (1.2).
3/17/2022 BWW      Attend to party claim form and investor contact matters (.3).     0.3          $108.00
3/21/2022 BWW      Review letters to late or non-filing investors (.3);              0.7          $252.00
                   communicate with M. Lockwood regarding same (.2);
                   telephone conference with B. Rybicki, Sr. regarding
                   Receivership and claims process (.2).
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SERVICES

Date         TKPR     Description of Services                                            Hours              Amount
  CLAIM       Claims Administration and Objections

3/22/2022 BWW         Telephone conference with M. Lockwood regarding revised                  0.5          $180.00
                      letter and mailing (.2); review claims materials and emails
                      from M. Lockwood (.3).
3/23/2022 BWW         Work on documents relating to accounting and investors                   0.7          $252.00
                      (.5); telephone conference with investor D.O. (.2).
3/24/2022 BWW         Telephone conference with B. Rybicki, Sr. regarding                      0.4          $144.00
                      Receivership claims process and action items (.2);
                      telephone call with R. Wales regarding B. Rybicki and
                      status of claims process (.2).

                                          Total: Claims Administration and Obje               8.50        $3,060.00
  WFEE        Work on Fees Motions

2/11/2022 BWW         NO CHARGE: Communicate with M. Lockwood regarding                        0.2            $0.00
                      preparation of motion for fees (.2).
2/14/2022 BWW         NO CHARGE: Review legal bills for outside attorneys and                  0.5            $0.00
                      submissions to court for authorization of payment of same
                      (.5).

                                          Total: Work on Fees Motions                         0.70            $0.00

                                                    Total Professional Services              178.1       $63,864.00

DISBURSEMENTS

Date                     Description of Disbursements                                                       Amount

E107       Del. Services/Messengers

11/18/2021               Burton W Wiand PA- Federal Express- FedEx - Closing                                 $55.47
                         Documents New York Apartment
12/2/2021                Burton W Wiand PA- Federal Express- FedEx - Volcan Affidavit in                     $57.82
                         Support of Attorney's Fees and Costs; Claim Forms
12/19/2021               Burton W Wiand PA- Federal Express- FedEx- Claim Forms to                           $57.16
                         Kacy Donlon and Affidavit of Lost Membership Certificate re: sale
                         of 12100 Seminole #312 to Najmy Thompson
12/21/2021               Burton W Wiand PA- Federal Express- FedEx - Claim Forms to                          $57.82
                         Kacy Donlon
1/21/2022                Burton W Wiand PA- Federal Express- FedEx - Claims forms to                         $56.18
                         Omni Agent Solutions
3/4/2022                 Burton W Wiand PA- Federal Express- FedEx - Rybicki                                 $31.12
                         Assignment sent to Kacy Donlon
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DISBURSEMENTS

Date                      Description of Disbursements                                                    Amount

E110       Out of Town Travel

11/23/2021                Burton W Wiand PA- Travel- Southwest Airlines - Trip to New York                $312.97
                          to Attend Sotheby's Watch Auction
12/8/2021                 Burton W Wiand PA- Travel- Curb Svc Long Island - Trip to New                    $48.10
                          York to Attend Sotheby's Watch Auction
12/8/2021                 Burton W Wiand PA- Travel- Eat Here Now - Trip to New York to                    $42.30
                          Attend Sotheby's Watch Auction
12/9/2021                 Burton W Wiand PA- Travel- Masala King Indian - Trip to New                      $61.16
                          York to Attend Sotheby's Watch Auction
12/9/2021                 Burton W Wiand PA- Travel- Curb Svc Long Island - Trip to New                    $18.30
                          York to Attend Sotheby's Watch Auction
12/9/2021                 Burton W Wiand PA- Travel- NYC Taxi - Trip to New York to                        $17.30
                          Attend Sotheby's Watch Auction
12/10/2021                Burton W Wiand PA- Travel- Curb Svc Long Island - Trip to New                    $48.35
                          York to Attend Sotheby's Watch Auction
12/10/2021                Burton W Wiand PA- Travel- Tampa Int'l Airport - Trip to New York                $72.00
                          to Attend Sotheby's Watch Auction

E123       Web-Related Expenses

10/1/2021                 Burton W Wiand PA- Web-related expenses- Spectrum Net                           $250.00
                          Designs - Auction Website
11/1/2021                 Burton W Wiand PA- Web-related expenses- Spectrum Net                           $250.00
                          Designs - Auction Website
12/1/2021                 Burton W Wiand PA- Web-related expenses- Spectrum Net                           $250.00
                          Designs - Auction Website
1/1/2022                  Burton W Wiand PA- Web-related expenses- Spectrum Net                           $250.00
                          Designs - Auction Website
2/1/2022                  Burton W Wiand PA- Web-related expenses- Spectrum Net                           $250.00
                          Designs - Auction Website
3/1/2022                  Burton W Wiand PA- Web-related expenses- Spectrum Net                           $250.00
                          Designs - Auction Website

E124       Other

10/23/2021                Burton W Wiand PA- Miscellaneous- GEICO - Insurance Premium                     $135.41
                          for Vehicle
11/23/2021                Burton W Wiand PA- Miscellaneous- GEICO - Insurance Premium                     $135.41
                          for Vehicle
11/29/2021                Burton W Wiand PA- Miscellaneous- Florida Main Movers - Moving                  $103.50
                          Services
11/30/2021                Burton W Wiand PA- Miscellaneous- Florida Main Movers - Moving                  $618.93
                          Services
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DISBURSEMENTS

Date               Description of Disbursements                                                   Amount

E124    Other

12/23/2021         Burton W Wiand PA- Miscellaneous- GEICO - Insurance Premium                    $134.21
                   for Vehicle
12/28/2021         Burton W Wiand PA- Miscellaneous- Ronda Simmons - Remote                       $150.00
                   Online Notary Services for Real Estate Closing
1/24/2022          Burton W Wiand PA- Miscellaneous- FL License/Tag Renewal -                       $12.50
                   New title for Defender

                                    Total Disbursements                                          $3,726.01


                                    Total Services                               $63,864.00
                                    Total Disbursements                           $3,726.01
                                    Total Current Charges                                       $67,590.01
                                    Previous Balance                                           $204,629.67
                                      Less Payments                                           ($102,310.47)
                                    PAY THIS AMOUNT                                            $169,909.21
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TASK RECAP

Services                                           Disbursements

Project No.                  Hours      Amount     Project No.                           Amount

ASDIS - ASDIS                100.50   $36,180.00   Del. Services/Messengers              $315.57
ASSET - ASSET                 26.70    $9,612.00   Out of Town Travel                    $620.48
BUSIN - BUSIN                 39.50   $14,220.00   Web-Related Expenses                 $1,500.00
CASE - CASE                    2.20     $792.00    Other                                $1,289.96
CLAIM - CLAIM                  8.50    $3,060.00                                            $0.00
WFEE - WFEE                    0.70        $0.00                                            $0.00

                             178.10   $63,864.00                                        $3,726.01




BREAKDOWN BY PERSON

Person                                             Project No.                Hours      Amount
BWW        Burton W. Wiand                         ASDIS - ASDIS              100.50   $36,180.00
BWW        Burton W. Wiand                         ASSET - ASSET               26.70    $9,612.00
BWW        Burton W. Wiand                         BUSIN - BUSIN               39.50   $14,220.00
BWW        Burton W. Wiand                         CASE - CASE                  2.20     $792.00
BWW        Burton W. Wiand                         CLAIM - CLAIM                8.50    $3,060.00
BWW        Burton W. Wiand                         WFEE - WFEE                  0.70        $0.00

                                                                              178.10   $63,864.00
